
53 So.3d 474 (2011)
Jeffrey BLOUGH, et al.
v.
DOWNEY CORPORATION d/b/a M &amp; D Quickstop, ABC Insurance Company, Dr. Mike D. McDaniel, In His Official Capacity As Secretary Of The Department Of Environmental Quality, The State Of Louisiana Through The Department Of Environmental Quality, Benton Oil Company, Inc., DEF Insurance Company, GHI Manufacturing Company, Inc. and XYZ Insurance Company.
No. 2010-CC-2568.
Supreme Court of Louisiana.
January 7, 2011.
*475 Denied.
VICTORY, J., would grant.
